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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

                                 CASE NO. 6:08-CV-729-PCF-GJK

EDWARD POWERS,

          Plaintiff,

v.

WAL-MART STORES EAST, L.P.,

      Defendant.
_________________________________/

_________________________________________________________________________________

  DEFENDANT WAL-MART STORES EAST, L.P.’S ANSWER AND AFFIRMATIVE
   DEFENSES TO PLAINTIFF’S COMPLAINT AND REQUEST FOR JURY TRIAL
______________________________________________________________________________

          Defendant, Wal-Mart Stores East, L.P., by and through the undersigned counsel, hereby

files its Answer and Affirmative Defenses:

                                  JURISDICTION AND VENUE

          1.      Defendant admits that Plaintiff purports to bring an action for damages within the

jurisdictional limits of this Court; however, Defendant denies that Plaintiff is entitled to any

relief.

          2.      Defendant admits that Plaintiff purports to bring an action under the Americans

with Disabilities Act (“ADA”) and Florida Civil Rights Act (“FCRA”); however, Defendant

denies that a cause or controversy exists under these provisions so as to entitle Plaintiff to any

relief.

          3.      Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 3 of the Complaint, and, therefore, denies the same.
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       4.      Defendant admits that it is a corporation doing business in the State of Florida.

Defendant is without knowledge as to what Plaintiff means by the terms “at all times material to

this cause of action,” and, therefore, denies these allegations.

       5.      Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 5 of the Complaint, and, therefore, denies the same.

                            ADA STATUTORY PREREQUISITES

       6.      Defendant admits that it is an employer for purposes of the ADA.

       7.      Defendant denies the allegations in Paragraph 7 of the Complaint.

       8.      Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 8 of the Complaint, and, therefore, denies the same.

       9.      Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 9 of the Complaint, and, therefore, denies the same.

       10.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 5 of the Complaint, and, therefore, denies the same.

       11.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 11 of the Complaint, and, therefore, denies the same.

                            FCRA STATUTORY PREREQUISITES

       12.     Defendant admits the allegations in Paragraph 12 of the Complaint.

       13.     Defendant denies the allegations in Paragraph 13 of the Complaint.

       14.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 14 of the Complaint, and, therefore, denies the same.

       15.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 15 of the Complaint, and, therefore, denies the same.




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       16.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 16 of the Complaint, and, therefore, denies the same.

       17.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 17 of the Complaint, and, therefore, denies the same.

                                  GENERAL ALLEGATIONS

       18.     Defendant admits the allegations in Paragraph 18 of the Complaint.

       19.     Defendant admits that Plaintiff was capable of performing his duties as a Sales

Associate with Wal-Mart; however, he failed to comply with Defendant’s policies.

       20.     Defendant admits that it terminated Plaintiff’s employment on or about October

11, 2006.

       21.     Defendant admits that Associates are not immediately terminated for failing to

take timely meal breaks; rather, like Plaintiff, they are disciplined for their misconduct via Wal-

Mart’s Coaching for Improvement Policy.

       22.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 22 of the Complaint, and, therefore, denies the same.

                                  SPECIFIC ALLEGATIONS

       23.     Defendant re-avers and re-incorporates by reference its responses to Paragraphs 1-

22 as though fully set forth herein.

       24.     Defendant admits that Management has observed Plaintiff utilizing a cane to

walk. Defendant is without knowledge sufficient to admit or deny the remaining allegations of

Paragraph 24 of the Complaint.




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       25.     Defendant admits that Plaintiff is able to walk. Defendant is without knowledge

sufficient to admit or deny the remaining allegations in Paragraph 25 of the Complaint, and,

therefore, denies the same.

       26.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 26 of the Complaint, and, therefore, denies the same.

       27.     Defendant admits that Assistant Manager Cassandra Montgomery terminated

Plaintiff’s employment after he failed to take his scheduled meal breaks at a time when he had

already progressed through Defendant’s Coaching for Improvement Policy. Defendant denies

the remaining allegations in Paragraph 27 of the Complaint.

       28.     Defendant is without knowledge as to Plaintiff’s recollection, and therefore denies

these allegations. Defendant denies the remaining allegations in Paragraph 28 of the Complaint.

       29.     Defendant admits that Plaintiff was issued a Verbal Coaching in March 2006, a

Written Coaching in June 2006, and a Decision Making Day Coaching in October 2006.

Defendant admits that Plaintiff’s brother was not contacted concerning Plaintiff’s termination, as

Management does not discuss an adult Associate’s employment with third parties. Defendant

denies the remaining allegations in Paragraph 29 of the Complaint.

       30.     Defendant admits that Plaintiff is capable of performing his duties as a Sales

Associate with Wal-Mart without accommodation. Defendant is without knowledge as to the

remaining allegations in Paragraph 30, and, therefore, denies these allegations.

       31.     Defendant denies the allegations in Paragraph 31 of the Complaint and states that

it was not obligated to offer Plaintiff a reasonable accommodation absent a request for an

accommodation from Plaintiff and/or a need for the same.

       32.     Defendant denies the allegations in Paragraph 32 of the Complaint.




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       33.     Defendant denies the allegations in Paragraph 33 of the Complaint.

       34.     Defendant denies the allegations in Paragraph 34 of the Complaint.

       In response to the unnumbered “WHEREFORE” clause that follows paragraph 34 of

Plaintiff’s Complaint, Defendant denies that any case or controversy exists so as to entitle

Plaintiff to any relief sought in this clause. Defendant respectfully requests that this Court: (a)

dismiss Plaintiff’s Complaint with prejudice; (b) deny Plaintiff’s demands and prayer for relief;

(c) award Defendant its costs incurred in defense of this action; and (d) grant such other and

further relief as the Court deems just and proper.

      COUNT II- FLORIDA CIVIL RIGHTS ACT HANDICAP DISCRIMINATION

       35.     Defendant re-avers and re-incorporates by reference its responses to Paragraphs 1-

22 as though fully set forth herein.

       36.     Defendant admits that Management has observed Plaintiff utilizing a cane to

walk. Defendant is without knowledge sufficient to admit or deny the remaining allegations of

Paragraph 36 of the Complaint.

       37.     Defendant admits that Plaintiff is able to walk. Defendant is without knowledge

sufficient to admit or deny the allegations in Paragraph 37 of the Complaint, and, therefore,

denies the same.

       38.     Defendant is without knowledge sufficient to admit or deny the allegations in

Paragraph 38 of the Complaint, and, therefore, denies the same.

       39.     Defendant admits that Assistant Manager Cassandra Montgomery terminated

Plaintiff’s employment after he failed to take his scheduled meal breaks at a time when he had

progressed through Defendant’s Coaching for Improvement Policy.            Defendant denies the

remaining allegations in Paragraph 39 of the Complaint.




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       40.     Defendant is without knowledge as to Plaintiff’s recollection, and therefore denies

these allegations. Defendant denies the remaining allegations in Paragraph 40 of the Complaint.

       41.     Defendant admits that Plaintiff was issued a Verbal Coaching in March 2006, a

Written Coaching in June 2006, and a Decision Making Day Coaching in October 2006.

Defendant also admits that Plaintiff’s brother was not contacted concerning Plaintiff’s

termination, as Management does not discuss an adult Associate’s employment with third

parties. Defendant denies the remaining allegations in Paragraph 41 of the Complaint.

       42.     Defendant admits that Plaintiff is capable of performing his duties as a Sales

Associate with Wal-Mart without accommodation. Defendant is without knowledge as to the

remaining allegations in Paragraph 42, and, therefore, denies these allegations.

       43.     Defendant denies the allegations in Paragraph 43 of the Complaint and states that

it was not obligated to offer Plaintiff a reasonable accommodation absent a request for an

accommodation from Plaintiff and/or a need for the same.

       44.     Defendant denies the allegations in Paragraph 44 of the Complaint.

       45.     Defendant denies the allegations in Paragraph 45 of the Complaint.

       46.     Defendant denies the allegations in Paragraph 46 of the Complaint.

       In response to the unnumbered “WHEREFORE” clause that follows paragraph 46 of

Plaintiff’s Complaint, Defendant denies that any case or controversy exists so as to entitle

Plaintiff to any relief sought in this clause. Defendant respectfully requests that this Court: (a)

dismiss Plaintiff’s Complaint with prejudice; (b) deny Plaintiff’s demands and prayer for relief;

(c) award Defendant its costs incurred in defense of this action; and (d) grant such other and

further relief as the Court deems just and proper.




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                                       JURY DEMAND

         47.   Defendant denies that a cause or controversy exists to entitle Plaintiff to a jury

trial.



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                       STATEMENT OF AFFIRMATIVE DEFENSES

                                     First Affirmative Defense

       Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which relief can be

granted.

                                    Second Affirmative Defense

       Upon information and belief, Plaintiff’s claim for damages is barred, in whole or in part,

because he failed to reasonably mitigate his damages.

                                     Third Affirmative Defense

       Any actions undertaken with regard to Plaintiff were taken for lawful and legitimate

business reasons.

                                    Fourth Affirmative Defense

       Plaintiff’s claims and/or damages are barred on the grounds that even if any decision

concerning Plaintiff was based, in part, on grounds of unlawful discrimination, and no decision

was, Defendant would have reached the same decision based on other legitimate and non-

retaliatory reasons.

                                     Fifth Affirmative Defense

       Plaintiff's claims are barred and/or limited by the after-acquired evidence doctrine to the

extent that discovery shows he engaged in misconduct prior to, during, after, or in connection

with his employment, that otherwise would have resulted in his discharge, if such conduct were

then known to Defendant.

                                     Sixth Affirmative Defense

     Plaintiff’s claims are barred, in whole or in part, by the applicable statute of limitations.




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                                  Seventh Affirmative Defense

        Defendants have made good faith efforts to prevent discrimination in the workplace, and

thus cannot be liable for the actions of its agents, or punitive damages, to the extent the

challenged employment decisions were contrary to its efforts to comply with anti-discrimination

and anti-retaliation statutes.

                                  Eighth Affirmative Defense

        Plaintiff’s claims are limited to those perfected through the timely filing of a Charge of

Discrimination with the Equal Employment Opportunity Commission and the Florida

Commission on Human Relations.



        DATED this 7th day of May 2008.


                                             Respectfully submitted,

                                             LITTLER MENDELSON, P.C.
                                             One Biscayne Tower, Suite 1500
                                             Two South Biscayne Blvd.
                                             Miami, FL 33131
                                             Tel: (305) 400-7500
                                             Fax: (305) 603-2552


                                             By: /s/ Linda Noël Fleurimond______
                                                    Scott A. Forman, Esq.
                                                    Florida Bar No. 0065950
                                                    E-mail: sforman@littler.com
                                                    Linda Noël Fleurimond, Esq.
                                                    Florida Bar No. 0659606
                                                    E-mail: lnoel@littler.com

                                                    Counsel for Defendant, WAL-MART
                                                    STORES EAST, L.P.




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 7th day of May 2008, I electronically filed the

foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

document is being served this day on all counsel of record or pro se parties identified on the

attached Service List in the manner specified, either via transmission of Notices of Electronic

Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

who are not authorized to receive electronically Notices of Electronic Filing.


                                             _/s/ Linda Noël Fleurimond______
                                             Linda Noël Fleurimond




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                                            SERVICE LIST
                             Edward Powers v. Wal-Mart Stores East, L.P.
                                   Case No. 6:08-CV-729-PCF-GJK
                         United States District Court Middle District of Florida

Hector M. de Jesus, Esq.
E-Mail: hector@lawdejesus.com
The Law Firm of Hector M. de Jesus, P.A.
1121 Saxon Boulevard
Orange City, Florida 32763
Tel.: (386) 228-9967
Fax: (386) 228-9968
Counsel for Plaintiff
(Served via transmission of Notices of
Electronic Filing generated by CM/ECF)

Scott A. Forman, Esq.
E-Mail: sforman@littler.com
Linda Noël Fleurimond, Esq.
E-Mail: lnoel@littler.com
LITTLER MENDELSON, P.C.
One Biscayne Tower, Suite #1500
Two S. Biscayne Boulevard
Miami, Florida 33131
Tel.: (305) 400-7500
Fax: (305) 603-2552
Counsel for Defendant, Wal-Mart Stores East, L.P.
(Served via transmission of Notices of
Electronic Filing generated by CM/ECF)



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